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..
      SHAMSIDDIN ABDUR-RAHEEM
      787151C/789072 .
      New Jersey State Prison
      PO Box 861
      Trenton, NJ 08625

                                       UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW JERSEY
      SHAMSIDDIN ABDUR-RAHEEM,                                          CIVIL ACTION NO.:
                                                                        3:15-CV-01743-MAS-TJB
                                 Plaintiff,
      Vo                                                                  CERTIFICATION SUPPORTING
                                                                         TO MOTION REOPEN THE TIME
      NEW JERSEY DEPARTMENT OF                                              TO FILE AN A~PEAL
      CORRECTiONS, et al.,
                                 Defendants.


            I, Shamsiddin Abdur-Raheem, of full age,. hereby ce.rtify:

            1.   I    am       the      Plaintiff       in    the       abov1e             matter       who    instantly

      moves for an order to reopen the time to file an appeal.

            2.   On/around              March    20,    2017~          the        Court          issued       an    opinion

      granting       in        part      and    denying       in       part               Defendants'         motion     to

      dismiss my complaint. I theri filed a motion for reconsideration.
            ~.       While         the     motion       for       reconsideration                       was        pending,

      counsels       from        the      American       Civil          Liberties Union                       entered    an
      appearance          on    my      behalf,       which       is    limited              to    representing          me
      on the claims against Defendants' Cellphone Rule, thus I continue

      to proceed pro se on all other                      is~u~s.

           4.    Wh·en the Court's                   decislon wa·s               ent:er·ad on my motion for

      reconsideration              on     November       7,       2017,           I        did    not     receive       any

      service    of        t:his       decisi on-perha.p s              du e 1        to     counsel          entering .a

      limited    appearance              on     my    behalf,          and        I       only    becamt~! .aware        of

      this- decision from a. source unrel.at,ed t.o this proceeding.

            5.   On       D.ecember        16,       2017,    I        sent           a    l:etter      to the Court

                                                              1
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 requesting to                     b,e    served ,~ copy , of the Court's November 7,                                                          2017
 decision,              while            also     reminding , the                     Court, I          still                proceed            pro

 se    on     all         issues            e:xcep_t           the     Cellphone          Rule          and that                     I     should

 still receive direct service of all filings entered. On                                                                                 J~n~ary

 18,    2018,             I        recei ve<l- actual                  service          of     the       Court's, Nov.                          7th

 opinion.
         6. Due to the fact that I                                     did not receive a copy the Court's

 November                 7'             2017          de_cision,                 deciding              my                  motion              for
 reconsideration,                          until               J a.nua ry         18'     '2018'             I              submit'            this

 application                  tp     reopen        th,:            time     to     file       an    appeal                   against            the

 Court's          dismissal                 of   my            Eighth           Am,~rndment        assault                   claims            with

 prejudice and denyibg                           r~consideration                      of same.

         7.       ,'A-\ f..,J;er    ~   •
                                    issuing        ,   -!!-
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                                                                                            ._ •                     n...o
                                                                                                                     f...
                                                                                                                                 dismiss         on

 March        20,         2017,           the    Court               granted          Pla inti.ff        30                 days         t.o   file
 an    amended                complaint.               However,                 the     filing          of           my       ~otion            for-

 reconsiderat:ion should hau~.' tolled· and reset the time for filing

 an amended comp la int.                         In _that               I ,did not rec-eive a copy of the

 Court's          Nov.             7th - decision                  until         January       18,       2018,                   I       request
                                                                                                                 1
 that       the        time          to     file              an    appeal        be     .reopen ·pu rsuant                              to    Rule



         8.    It          is       excusable neglect and                             good    cause for                       delay,           Rule

 4(a)(S)(A)(ii),'                        F'ed.R.C!_!.:_P.,              being          that        it    was                no       fault       of

'Plaintiff that he did not receive                                              ~ervice      of the Court's November

 7,    2018       opinion on his motion for r:econsid,eration until January

 18, 20180

         9~ Attached hereto is an unsign~d/unda~ed copy of the notice

 of app-aal              sought            to, be filed                 along with accompanying in form.a

                                                                            2
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pauperis applicatibn pursuant to L.Civ.R. 7.l(f)o

        10.        For the· foregoing reasons,              in the   interst of         justice,

for     good        cause   shown    and        excusable    neglect,       it   is _requested

that        th,e    instant   motion       to    reop.en    the   time     to : file    a   notice

of appeal be GRANTEDo

        I        certify    that    the    for.egoi.ng      stat·ement.s    made   by       me   are

true.        I     am awar."e that    if any of         the fore.going       statements made

by me are willfully false, I am subject to punishment.

                                                           Respectfully submitted,




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                                                           By: Shamsiddin Abdur-Raheem
Dabe: February 16, 2018




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